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      IT IS ORDERED as set forth below:



      Date: October 26, 2018
                                                         _________________________________

                                                                   Paul W. Bonapfel
                                                             U.S. Bankruptcy Court Judge
     _______________________________________________________________
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION
         IN RE:                          )    CASE NO. 17-56753
                                         )
         6420 ROSWELL ROAD INC           )
         d/b/a FLASHERS                  )    CHAPTER 11
                                         )
                Debtor.                  )
    ===================================================================

                                ORDER AND NOTICE
                      5(*$5',1*&/2685(2)'(%725¶6%86,1(66


                  On October 23, 2018, the Court held a hearing on the pending Confirmation of the

         Chapter 11 Plan of Reorganization (Doc. No. 65) DQGRQ8QLWHG6WDWHV7UXVWHH¶VSHQGLQJ

         Motion to Convert or Dismiss the Case (Doc. No. 80).

                  At the hearing, Howard P. Slomka, Esq. represented the Debtor and Martin P. Ochs,

         Esq. represented the U.S. Trustee. Also present were Jody and Steven G. Downs as

         UHSUHVHQWDWLYHVRIWKH/DQGORUGIRU'HEWRU¶VEXVLQHVV

                  Slomka proffered to the Court that due to a recent ruling by the Fulton County

         Superior Court, Sandy Springs ordinances no long allow adult entertainment
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            establishments to serve alcohol in this location, and therefore the Debtor has closed its

            doors permanently. BecaXVHWKHUHLVQRSODQWRUHRSHQ'HEWRU¶VSODQRIUHRUJDQL]DWLRQLV

            no longer feasible.

                    The Court considered arguments related to dismissal, conversion to chapter 7 or

            filing a liquidating chapter 11 plan. The Court also heard proffered testimony from

            Landlord, which Mr. Slomka confirmed, that post-petition rent is due for October 2018 and

            post-petition real estate taxes are due under the lease for 2018, through and including

            October.

                    Upon consideration of the proffered testimony and the arguments of the parties in

            interests, it is hereby

            ORDERED and NOTICE IS HEREBY GIVEN that:

            A. The hearing on all pending motions is continued until November 15, 2018 at 11:00 am

    in Courtroom 1401, Richard B. Russell Federal Building and United States Courthouse, 75 Ted

    Turner Drive, SW, Atlanta, Georgia 30303.

            B. The automatic stay of 11 USC §362 shall be lifted in order to allow Landlord to evict

    Debtor if it remains in possession on November 25, 2018, and to take steps to re-lease the location

    without interference from Debtor.

            C. Debtor shall be entitled to sell, at commercially reasonable prices and for the benefit of

    the estate, all furniture and personal property remaining in the location. Any items not sold or

    removed prior to turnover or writ of eviction will be deemed abandoned to the Landlord. Any

    FUHGLWRUV RU SDUWLHV LQ LQWHUHVW ZKR GHVLUH WR SXUFKDVH DQ\ VXFK LWHPV VKRXOG FRQWDFW 'HEWRU¶V

    counsel.
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            D. Debtor shall retain and reserve all financial records located within the premises and in

    its office location in order to assist United States Trustee or other parties in interests in reviewing

    and confirming the financial activities of the Debtor during this case.

            E. United States Trustee shall have the right to conduct discovery, including, without

    limitation, RQHRUPRUH5XOHH[DPLQDWLRQVRI'HEWRU¶VSULQFLSDODQGRULWVERRNNHHSHUVDQG

    accountants as needed to review the post-petition financial activities.

            F. Debtor shall have until November 5, 2018 to file a Motion to Dismiss the case indicating

    the likely distributions of the assets from the estate.



            Debtor shall serve a copy of this Order and Notice upon all parties in interest and file a

    certificate of service upon the docket.

                                              *** END OF ORDER ***


            Prepared and presented by:
            _____/s/_______
            Howard P. Slomka, Esq.
            GA Bar 652875
            Attorney for Debtor
            Slipakoff and Slomka P.C
            2859 Paces Ferry Road, Suite 1700
            Atlanta, GA 30339
            hs@myatllaw.com
            (404) 800-4017


            Approved as to form:

            ___/s__________________
            Martin P. Ochs, Esq.
            GA Bar 091608
            United States Department of Justice
            75 Ted Turner Drive - Suite 362
            Atlanta, GA 30303
            Tel: (404) 331-4437 - ext. 139
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                                             Distribution List


         Howard P. Slomka, Esq.
         GA Bar 652875
         Attorney for Debtor in Possession
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         2859 Paces Ferry Road, Suite 1700
         Atlanta, GA 30339
         hs@myatllaw.com
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                                               United States Bankruptcy Court
                                               Northern District of Georgia
In re:                                                                                                     Case No. 17-56753-pwb
6420 Roswell Road Inc.                                                                                     Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113E-9                  User: tf                           Page 1 of 1                          Date Rcvd: Oct 26, 2018
                                      Form ID: pdf534                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 28, 2018.
db             +6420 Roswell Road Inc.,   6420 Roswell Road,   Sandy Springs, GA 30328-3112

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 28, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 26, 2018 at the address(es) listed below:
              Howard P. Slomka   on behalf of Debtor    6420 Roswell Road Inc. se@myatllaw.com,
               myecfcalendar@gmail.com;myatllaw@gmail.com;info@myatllaw.com;notices@nextchapterbk.com;SlomkaTR74
               878@notify.bestcase.com
              Martin P. Ochs   on behalf of U.S. Trustee    Office of the United States Trustee
               martin.p.ochs@usdoj.gov
              Nancy J. Whaley   ECF@njwtrustee.com
              Office of the United States Trustee    ustpregion21.at.ecf@usdoj.gov
              Ryan J. Williams   on behalf of Interested Party Nancy J. Whaley ecf@njwtrustee.com
                                                                                             TOTAL: 5
